Case 2:22-cv-03481-JDW Document 1 Filed 08/25/22 Page 1 of 20

IN THE UNITED STATES DISTRICT COURT
Eoren
FORTHE. _ DISTRICT oF £¢75 dvenws

John A VeSelv® (Your Name),
Movant

V.

UNITED STATES SECURITIES AND

EXCHANGE COMMISSION,
Respondent
I, John @ DeSalvo (your name), (am now/was previously) a customer of
E- Tred. F ene .e) 20 Hyd SC ol Gy Flaa~ J res City
NS O73eA (name and address of financial institution) arid I am the customer whose

records are being requested by the United States Securities and Exchange Commission.

The financial records sought by the United States Securities and Exchange Commission
are not relevant to the legitimate law enforcement inquiry stated in the Customer Notice that was
sent tome because Picze- eer MCD 42 OW Seyarche Liner) hotel , ThE

ques 16 ma (CrSeod ms wife, ond dvqble Ck died ccowd Crile
T usd Seccrkle comde Bicew hee Fumacu , Sec eth iuchel

or should not be disclosed because there has not been substantial compliance with the Right to
Financial Privacy Act of 1978 in that

or should not be disclosed on the following other legal basis:

I declare under penalty of perjury that this statement foregoing is true and correct.

Ms eve.

(signature)

Dated: GS$- 20-22

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ENIAL FO UEST OF PERSONAL FI CIAL DOCU TS

To: UNITED STATES DISTRICT COURT
Eastern District of Pennsylvania
601 N Market Street, Philadelphia, PA 19106

Sub.: Denial for request to review personal financial records for JOHN A DESALVO
SS# XXX-XX-XXXX for Ocean First Bank, E-Trade Financial, and TD BANK NA

Sir,

I , JOHN A DE SALVO, hereby respectfully DENY The UNITED STATES SECURITY &
EXCHANGE COMMISSION , ( SEC) to gain access to and review the financial documents
requested by such from OCEAN FIRST BANK, TD BANK, and E-TRADE FINANCIAL.
These documents are in no way related to the stated, BLAZAR TOKEN LLC or any of its
constituents when it comes to Liquidity removal or funds of any sort. These are all finances
that are handled internally by DSDAQ.io, DEX-TRADE, COINSBIT.io, TOKPIE, and
Pancake Swap Decentralized exchange. The requested financial records belong to John
DeSalvo, Cailee DeSalvo, Dennis DeSalvo, and Minors Dominic DeSalvo and Arabella DeSalvo.
These are used for everyday expenses and include payroll disability checks, and household
expenses and there is medical items on there as well that are private matters. I will however

provide these documents to be reviewed in person with myself and counsel present.

Furthermore, Good afternoon and thank you for taking the time to read my informative
letter regarding the request for my personal banking records in relation to BLAZAR Token,
and my denial of such. These records have absolutely ZERO connection with BLAZAR token
and are affiliated with my wife, my father, and my Childrens disability funds. All of BLAZARS
trading and funds are held on privately run exchanges and all transactions are listed online for
all to see. Crypto leaves nothing hidden, anything that has been transferred leaves a trail and
this is why the world, and myself included loves crypto over the corrupt
World we live in. As you know I am the founder of BLAZAR Token and came up with the
initial idea and applied for Trademarking rights on such. We hired a professional crypto
development team and this included marketing and advertising teams. BLAZAR as you know
is a crypto token and ALL transactions are set in stone and clear and concise for all to see . It
cannot be manipulated , changed , or involved in any corruption whatsoever if proper protocol
is followed . I ensured that not only is this what happened , but that we were always
completely transparent to the public regarding such. As a team we decided to go public and
offer BLAZAR token on 04/21/2022 on one decentralized exchange entitled Pancake Swap,
along with four centralized exchanges entitled DSDAO Io , Dex-trade, TOKPIE, and
Coinsbit.Io. When launching a token the most important thing one must look for is the locking
of the liquidity by the tokens admin. 18 minutes after launching BLAZAR token we LOCKED
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_ ALL Liquidity until 2025 on a liqudity locking app entitled DX.APP. What this does is it

removes ALL power from BLAZARS team to access any funds regarding BLAZAR. It it’s
completely independent and run by the exchanges. This means that ALL investors money is
safe and secure and cannot be involved in what is known as a rug pull due to the liquidity
being locked away and inaccessible for 3 years. It is to ensure credibility , and trust by our
team regarding the project going forward. Every single transaction on any of these exchanges
is reported and listed on BSCSCAN.com. This is a complete ledger of All transactions of Buy /

Sell for BLAZAR Token. The records you requested are my personal banking records for my
family, and my disability payments for my children. There is nothing regarding BLAZAR
token on my personal finances. Due to the liquidity lock for BLAZAR, and I will attach reports
showing such, there cannot be any accessibility to ANY Form of withdrawals for three years
minimum. This token was created as a LONG Term project and we have only been in
existence for three months. I will gladly meet you and go over each and every BLAZAR
transaction line for line since trading started on 04/21/22. Tbe trading, it’s monitoring, and
holding, dispersing of tradable equities is all handled by the exchanges and we at BLAZAR
Token relinquished this ability the moment we locked away the liquidity on DX.APP. You can
follow the blockchain for EVERY single buy and sell ever and see that nothing ever was
associated with myself or Anyine associated with me. I will provide you with any paperwork
needed, go over easy and every transaction line by line , and even take multiple polygraphs to
prove my innocence and lack of any connect in with this token whatsoever. As of this date
most exchanges are still up and running, you can trade BLAZAR token, and you can follow all
transactions via the BSCscan which shows we are not involved in any capacity

whatsoever. That address is :

https://www.bsescan.com/token/0xaFe82CF5200ADE2457090d5cCbBal d0577bS5db50

Here is a link to all transactions done on the decentralized exchanges :

https://www.bsescan.com/token/
OxaFe82CF5200ADE2457090d5cCbBald0577b5db50#tokenTrade

Here is the link providing the liquidity to the exchange:

https://www.bsescan.com/tx/
0xda4770c1742a9e9c76cl cceSb82b2dfacf4e60b3de6be6be866a41df614bff4c9

This link shows the 408,000 CAKE LP tokens issued. If a token holds the LP tokens that
means the creators have not cashed in any tokens:

https://www.bsescan.com/token/0xc599b83bea7e8309d8a9feab6ad33d627006f1 af3?

can.cOM/TOKCD/ UAC 7 tO ee ee

a=0x87fb518b26e2e3b808833 1 Sef312a2a2e5f02f2d

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_The locking of the liquidity was done on DX.APP and here is the link that provides that

information :

a=0x87fb51 8b26eac3h80883315e(31 2a2a2e5f02f2d

If anyone needs additional information, including my Financials, I will gladly bring them in

and go over them In person with counsel present.

I have been threatened, my home was shot at, my Childrens lives put in jeopardy; and I will
not stand for this type of action by anyone. I have submitted a cease and desist order to the
individual who brought this matter to your attention , and to Be quite honest he is very inept
when it comes to Crypto and all the answers you seek are right there in the open all one needs
to do is look. We are not only not affiliated with any type of scam as accused, but we are the
most open, and honest crypto out there. Every member has identified himself or herself ,
provided their phone numbers, emails , addresses for all to see. This was a MAJOR mistake
on our end but we didn’t know any better and we’re simply trying to be as transparent as
possible. What I can guarantee you is that not one single penny was ever fake. Illicitly from
this token, or it’s holders. To This date Not a single Liquidity token was cashed in and I
ensured that would be the case when I took The security measures necessary to do so by
locking the Liqidity. With that said, in closing I respectfully decline to Present anyone to
subpoena and go over my financials. I will however gladly go over them, and every other
financial record i have associated with BLAZAR token with you in person any time you would
like me to. My number is 609-382-2223 and you can email me at Johnadesalvo@icloud.com.
What you will find is that all of us here at BLAZAR have the best interests of the investors
And their families.

Thank you for your time,
John A DeSalvo

Founder BLAZAR Token

Ih @ e- § -(4-202 &

Signature of the person authorized

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BLAZAR TOKEN LLC

LOCKING OF LIQUIDITY

This information is not to be construed as legal advice. Legal advice must be tailored to the specific circumstances of each case. Although
we attempt to provide up-to-date information, laws and regulations often change. We make no claims, promises, or guarantees about the
accuracy or completeness of this document.

For legal advice, please consult an attorney.

This is to advise you what LIQUIDITY is, and what it means to lock it away. When a token is
created the Initial liquidity is added to a decentralized exchange to establish the initial
price. This is usually in the form of US DOLLARS and hedged against the value of the token
you are listing. As the individual listing the token you can add to , and remove liquidity at
any time and this then affects the price of the token. If you remove liquidity it then drops
the price of the token and it is essentially taking the shareholder ( Token Holder)
( Investors) money. This makes investors very wary of investing with your company. The
way to alleviate this and instill investors confidence in your token is to LOCK the Liquidity
with a third party APP for an extended period of time. What this does is 100% in its
entirety take the power away from the tokens creators, and leave only the third party app
with the tokens liquidity As the liquidity builds the creator will want to continue to lock the
liquidity away to ensure all the tokens value is still there. Just as the US Treasury and
Reserve holds GOLD to back our dollar, these third party or decentralized apps hold the
Liquidity to back the tokens price. In BLAZARS case when we added the initial liquidity we
were issued what is called LIQUIDITY ( LP TOKENS) in the form of a token called CAKE LP
TOKENS. These cake LP tokens are what back the value of BLAZAR. They are essentially
our GOLD. Immediately after BLAZAR Token was listed on Pancakeswap for trading we
were issued 287,000 CAKE LP TOKENS. We then immediately , within 18 minutes, LOCKED
ALL of Blazar Tokens CAKE LP Tokens with a 3rd party App called DX.APP for THREE Years
until May of 2025. This means that as of this time BLAZAR has ZERO, absolutely without a
doubt NO CONTROL of Blazars Tokens Price or Liquidity. Additionally as Blazar started to
trade and increase in price on two separate locations we locked more Liquidity onto
DX.APP for 3-5 additional years as well. We now have over 408,000 CAKE LP TOKENS and
as you can see with the attached paperwork, ALL 408,000 TOKENS are LOCKED AWAY for
3-5 years on DX.APP meaning that BLAZAR Token, myself, or anyone who has anything to
do with BLAZAR is now ABSOLUTELY IMPOSSIBLE UNABLE to gain any access whatsoever
to any of BLAZAR Tokens liquidity, or GOLD if you will. It is locked away under lock and key
with a 3 year window. Think of a CD in a bank . SO with all of this said what we have is a
bunch of uninformed, or knowledge lacking investors who don’t understand the way that
crypto works, and that the only reason why Blazer token would go up , or down in price is
by investors ( THEMSELVES) buying or selling a token. BLAZAR itself is no longer able to
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touch any money associated with it and only token holders can gain access to these funds.
This is all very clear and concise information for those that understand the way that crypto
works. unfortunately what we have found is that these are mostly new investors to crypto
and when they saw the price fall their first response was someone stole money. Well this is
absolutely impossible as you can see. The only way to gain access is to sell tokens. Well I
was issued 10 Billion tokens and if you look under the token holders page, I still hold every
single one of those 10 billion tokens. I have never sold a single token of my initial 10 billion,
and I locked all the liquidity meaning that as of this date, and for the next 2.5 years I will not
and can not gain access to a single dollar of liquidity from Blazar. This really is a five minute
investigation once someone see’s the information in its entirety. The problem is no one
takes the time to review anything that is listed directly on BSCSCAN.com. In closing, not
only did no one ever take any liquidity from BLAZAR, but Blazar is one of the most, if not
the most secure token on any exchange,. Every single dollar of liquidity is locked away, and
will continue to be ,locked away for years to come,

Very truly yours,
John A DeSalvo

ye

©ZETL

Case 2:22-cv-03481-JDW Document1 Filed 08/25/22 Page 7 of 20
4:06 7 ol LTE

a dx.app @ a
=— Binance Smart Chain

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Fro & guid iS Cocey

P BLAZAR/WBNB

BLAZAR ADDRESS @ WBNB ADDRESS @

LOCKER CONTRACT @

Lock Timer
fr \

1029:06:55:27

Total Supply of LP
406847.8808673548
LP in Locker (27%)
111803.39887498948
Unlock Date
6 May 2025 at 23:01
# Lockers
1

< Q O ff

Case 2:22-cv-03481-JDW Document1 Filed 08/25/22 Page 8 of 20
4:06 q ool LTE r

i dx.app @ 3
—_ Binance Smart Chain

Mitel Ul(eliava Mola <aig

Pr BLAZAR/WBNB

BLAZAR ADDRESS © WBNB ADDRESS @

LOCKER CONTRACT &

Lock Timer

o

1030:14:38:18

Total Supply of LP
406847.8808673548
LP in Locker (71%)
289553.5314137281
Unlock Date
8 May 2025 at 06:44
# Lockers
1

HOW TO CONFIRM IF
TRULY A TOKEN'S
LIQUIDITY IS LOCKED

First, locate the token contract, this could
be found in the blockchain scanner of that
particular token. Lets say the token we are
talking about is a BSc token, so we head to
the bscscan.com and locate the contract
address of the token.

20

&bscscan.com

Overview Internal Txns Logs (8)

Comments

Binance: WBNB loken

Tokens Transferred: €)

>» From 0x87fb518b26eae3b808... To
PancakeSwap V2: BLAZ... For 250,000,000 Ea
BLAZAR (BLAZAR)

» From PancakeSwap: Router v2 To
PancakeSwap V2: BLAZ... For 50 ($11,945.66)
Wrapped BNB (WBNB)

>» From Null Address: 0x000...000 To
Null Address: 0x000...000 For

90.000000000000001 Pancake LPs (Cake-L...)

> From Null Address: 0x000...000 To
0x87fb518b26eae3b808... For

111,803.398874989484819458 Pancake LPs

(Cake-L...)

Text

Value:

50 BNB ($11,933.50)

Transaction Fee:
0.00212249 BNB  (S0.51)

BNB Price:
$406.59 / BNB

7: 21 q ab @ )

AA@ A&bscscan.com G

59 days 23 hrs ago _—_—Null Address: 0x000...00C
60 days 6 hrs ago Null Address: 0x000...00C€
63 days 5 hrs ago Null Address: 0x000...00(€
64 days 8 hrs ago Null Address: 0x000...00(€
64 days 8 hrs ago Null Address: 0x000...00C€
*
64 days 8 hrs ago 0x87fb518b26eae3b808.

64 days 11 hrs ago _Null Address: 0x000...00(

#1 is Liquidity Added to PancakeSwap. # 2 is
the locking of the liquidity 3 hours later on
DX.APP for 3 years

Case 2:22-cv-03481-JDW Documenti1 Filed 08/25/22 Page 12 of 20
3:55 97 wl 5G

@bscscan.com @ Ze

Binance Smart Chain
Search by Address / Txn Hash / Block / Token ae

Token Pancake LPs ®

Sponsored: Binance - Join the world's largest

crypto exchange. Sign Up Now.

Overview  BEP-20

PRICE FULLY DILUTED MARKET CAP
$0.00 @ 0.000000 BNB ®
$0.00

otal Supply:

406,847.880867 Cake-LP (

Holders:
6 addresses

Transfers:
41

Profile Summary O

< : Q @ th «

Case 2:22-cv-03481-JDW Document1 Filed 08/25/22 Page 13 of 20

3:56 9 al! 5G C_)
— @bscscan.com @ ge
— Binance Smart Chain

Overview Internal Txns Logs (7) 3

Comments

To:
@ Contract

0x10ed43c718714eb63d5aa57b78b54704e256024e
(PancakeSwap: Router v2) @ (L)

TRANSFER 174.767176919989769621 BNB From
PancakeSwap: Router v2 To ~ Binance: WBNB Token

Tokens Transferred: ©)

» From 0x87fb518b26eae3b808... To
PancakeSwap V2: BLAZ... For 500,000,000
BLAZAR (BLAZAR)

» From PancakeSwap: Router v2 To
PancakeSwap V2: BLAZ... For
174.767176919989769621 ($38,825.58)
Wrapped BNB (WBNB)

> From Null Address: 0x000...000 To

294,349.309107910378957543 Pancake LPs

Value:

174.767176919989769621 BNB ($38,808.80)

Transaction Fee:

AANA AnAA MAIS -_——_—_—s

< O) 1 (ny) eee

Case 2:22-cv-03481-JDW Documenti1 Filed 08/25/22 Page 14 of 20

3:58 7 ot) 5G
a @bscscan.com @ ee
— Binance Smart Chain

Overview Internal Txns Logs (8)

Comments

—— ee ee

0x10ed43c718714eb63d5aa57b78b54704e256024e
(PancakeSwap: Router v2) @ (Ui

.. TRANSFER 50 BNB From PancakeSwap: Router v2 To
Binance: WBNB Token

Tokens Transferred: @)

> From 0x87fb518b26eae3b808... To
PancakeSwap V2: BLAZ... For 250,000,000
BLAZAR (BLAZAR)

> From PancakeSwap: Router v2 To
PancakeSwap V2: BLAZ... For 50 ($11,107.80)
Wrapped BNB (WBNB)

» From Null Address: 0x000...000 To
Null Address: 0x000...000 For 0.000000000000001
Pancake LPs (Cake-L...)

» From Null Address: 0x000...000 To

111 ,803.398874989484819458 © Pancake LPs

Value:
50BNB ($11,095.50)

Transaction Fee:
0.00212249 BNB (80.47)

Cc > aga

Pancake LPs (Cake-LP) Toke @SRed Besenv-03481-JDW Document1 Filed 08/25/22 Page 15 of 20 8/22/28, S08. EM

Token
legate BNB to Bsc now!
Overview Profile Summary
sae

$0.00 $0.00 Contract Oxc599b83bca7e8309d8aSfeabad33d6270
Total Supply: ~~ 408,061.91995 Cake-LP Decimals: 18
Holders: 6 addresses Social Profiles: Not Available, Update ?

Ad

Advertise your brand here! __ start today

FILTERED BY TOKEN HOLDER

0x87fb518b26eae3b80883315ef312a2a2e5f02f2d 0 Cake-LP $0.00

Li qusa by WN cue- Covnoute|

This website uses cookies to improve your experience and has an
updated Privacy Policy.

https://www.bsescan.com/token/0xc599b83bca7e8309d8a9fea6ad33d627006f1af3?a=0x87tb518b26eae3b80883315ef312a2a2e5/02i2d Page 1 of 2
Pancake LPs (Cake-LP) Toke@RSeeA 225e0-03481-JDW Document1 Filed 08/25/22 Page 16 of 20 ES COO

Transfers Info Contract Analytics

A total of 16 transactions found

Txn Hash Method @ Age From To Quantity

Oxfe6B91fd05870495e66... Oxac613708 49 0x87fb518b26eae3b808... \ 0x3f5419beebO1aibc9c... 289,553.5314137,

Oxc97 ieaBi be29c2... Transfer 49 405e5a 75bi628... IN Ox87fb518b26eae3b808...  289,553.5314137.

Oxc52bae8193b3929db9... Transfer 49 0x87fb518b26eae3b808... UT A 8. 75b{628... 286,663.8154266:

0x0585cebi1962aef86c5... Remove Liquidity... 112 0x87fb518b26eae3b808... ou PancakeSwap V2: BLAZ... 35,430.35921004

Oxc3 Oee eas Process_Fees_Now 112 Null Address: 0x000...000 IN 0x87fb518b26eae3b808... 692,.1829654417£

0x0: f444cd9805911... Add Liquidity ET... 112 Null Address: 0x00! IN 0x87fb518b26eae3b808... 294,349.3091079

Oxd90cc32eaf82123852... Process_Fees_Now 112 Null Address: 0x000...000 IN 0x87fb518b26Geae3b808... 10,851.68629449.

[Download CSV Export ~]

https://www.bscscan.com/token/0xc599b83bca7e8309d8a9 fea6ad33d627006f 1af3?a=0x87fb518b26eae3b80883315ef312a2a2e5F0 22d Page 2 of 2
Binance Transaction Hash (hadsenead?-ovs03481-JDW Document 1 Filed 08/25/22 Page 17 of 20 8/2122, 200 PM

Transaction Details
x Watch More Here

Overview Internal Txns Logs (8). Comments

Transaction Hash: 0xda4770c1742a9e9¢7 6c1 ccS5b82b2dfacf4e60b3de6be6be866a4 1 di61 4bff4c9

Status: © Success

Block: 17152754

Timestamp: © 122 days 18 hrs ago (Apr-22-2022 12:12:02 AM +UTC)

From: 0x87 fb518b26eae3b808833 15ef31 2a2a2e5f02!2d

To: ® Contract 0x10ed43c718714eb63d5aa57b78b54704e256024e (PancakeSwap: Router v2) @ _
50 BNB PancakeSwap: Rout... Binance: WBNB To...

Tokens Transferred: () From O0x87{b518b26eae... To PancakeSwap V2:... For 250,000,000 EB BLAZAR (BLAZAR)

From PancakeSwap: Ro... To PancakeSwap V2:... For 50 ($14,694.94) Wrapped BNB (WBNB)
From Null Address: 0x00... To Null Address: 0x00... For 0.000000000000001 ©) Pancake LPs (Cake-L...)
From Null Address: 0x00... To Ox87fb5i18b26eae... For 111,803.398874989484819458 © Pancake LPs

(Cake-L....)
Value: 50BNB ($14,707.50)
Transaction Fee: 0.00212249 BNB ($0.62)
BNB Price: $406.59 / BNB
Click to see More. +
Private Note: To access the Private Note feature, you must be Logged In

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Zs HIGHEST STANDARD

This website uses cookies to improve your experience and has an
updated Privacy Policy.

https://www.bscscan.com/tx/0xda4770c1742a9e9c76ciccSb82b2dfact4e60b3deGbe6be866a4 1016 14bff4co Page 1 of 1
To:

Case 2:22-cv-03481-JDW Document1 Filed 08/25/22 Page 18 of 20

SUBPOENA

UNITED STATES OF AMERICA
SECURITIES AND EXCHANGE COMMISSION

In the Matter of Blazar Token, P-02377

E*TRADE Financial, LLC
200 Hudson St., 6" Floor
Jersey City, NJ 07302

YOU MUST PRODUCE everything specified in the Attachment to this subpoena to officers of the Securities
and Exchange Commission, at the place, date and time specified below:

ENF-CPU, U.S. Securities and Exchange Commission, 14420 Albemarle Point Place, Suite 102
Chantilly, VA 20151-1750, no later than August 30, 2022 at 5:00 p.m.

YOU MUST TESTIFY before officers of the Securities and Exchange Commission, at the place, date and
time specified below:

FEDERAL LAW REQUIRES YOU TO COMPLY WITH THIS SUBPOENA.
If you do not comply with this subpoena, the SEC may bring an action in Federal Court to enforce this subpoena.
Failure to comply with a court order enforcing this subpoena may result in the court imposing a fine, imprisonment, or both.

Maaunta Viele Date: August 16, 2022

Assunta Vivolo, Assistant Regional Director

USS. Securities and Exchange Commission
Philadelphia Regional Office

One Penn Center, 1617 JFK Boulevard, Suite 520
Philadelphia, PA 19103

I am an officer of the U.S. Securities and Exchange Commission authorized to issue subpoenas in this matter. The
Securities and Exchange Commission has issued a formal order authorizing this investigation under Section 20(a)
of the Securities Act of 1933, Section 21(a) of the Securities Exchange Act of 1934, and Section 209(a) of the
Investment Advisers Act of 1940.

NOTICE TO WITNESS: If you claim a witness fee or mileage, submit this subpoena with the claim voucher.
To:

Case 2:22-cv-03481-JDW Document1 Filed 08/25/22 Page 19 of 20

SUBPOENA

UNITED STATES OF AMERICA
SECURITIES AND EXCHANGE COMMISSION

In the Matter of Blazar Token, P-02377

TD Bank, NA

Subpoena Compliance

1701 Route 70 East, 1st Floor,
Cherry Hill, NJ 08003

x!

YOU MUST PRODUCE everything specified in the Attachment to this subpoena to officers of the Securities
and Exchange Commission, at the place, date and time specified below:

ENF-CPU, U.S. Securities and Exchange Commission, 14420 Albemarle Point Place, Suite 102
Chantilly, VA 20151-1750, no later than August 29, 2022 at 5:00 p.m.

YOU MUST TESTIFY before officers of the Securities and Exchange Commission, at the place, date and
time specified below:

FEDERAL LAW REQUIRES YOU TO COMPLY WITH THIS SUBPOENA.

If you do not comply with this subpoena, the SEC may bring an action in Federal Court to enforce this subpoena.
Failure to comply with a court order enforcing this subpoena may result in the court imposing a fine, imprisonment, or both.

Maeunta Vivrele Date: August 15, 2022

Assunta Vivolo, Assistant Regional Director

U.S. Securities and Exchange Commission
Philadelphia Regional Office

One Penn Center, 1617 JFK Boulevard, Suite 520
Philadelphia, PA 19103

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To:

Case 2:22-cv-03481-JDW Document1 Filed 08/25/22 Page 20 of 20

SUBPOENA

UNITED STATES OF AMERICA
SECURITIES AND EXCHANGE COMMISSION

In the Matter of Blazar Token, P-02377

TD Bank, NA

Subpoena Compliance

1701 Route 70 East, 1st Floor,
Cherry Hill, NJ 08003

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Chantilly, VA 20151-1750, no later than August 29, 2022 at 5:00 p.m.

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If you do not comply with this subpoena, the SEC may bring an action in Federal Court to enforce this subpoena.
Failure to comply with a court order enforcing this subpoena may result in the court imposing a fine, imprisonment, or both.

Aaeunta Vireble Date: August 15, 2022

Assunta Vivolo, Assistant Regional Director

U.S. Securities and Exchange Commission
Philadelphia Regional Office

One Penn Center, 1617 JFK Boulevard, Suite 520
Philadelphia, PA 19103

l am an officer of the U.S. Securities and Exchange Commission authorized to issue subpoenas in this matter. The
Securities and Exchange Commission has issued a formal order authorizing this investigation under Section 20(a)
of the Securities Act of 1933, Section 21(a) of the Securities Exchange Act of 1934, and Section 209(a) of the
Investment Advisers Act of 1940.

NOTICE TO WITNESS: If you claim a witness fee or mileage, submit this subpoena with the claim voucher.
